
In re: Ervin Dawson and Johnnie B. Dawson, applying for writs of Review, Prohibition, Mandamus and for a Stay Order.
Granted. (See Order)
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Burrell J. Carter Judge of the Twenty-First Judicial District, Court for the Parish of Tan-gipahoa, to transmit to the Supreme Court of Louisiana, on or before the 28th day of February, 1975, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator — -herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 23rd day of May, 1975, at 10 o’clock, A.M., why the relief prayed for in the petition of the relator should not be granted.
